Case: 1:24-cv-04559 Document #: 1 Filed: 06/03/24 Page 1 of 42 PagelD #:1

Pro Se | (Rev. 12/16) Complaint for a Civil Case

UNITED STATES DISTRICT COURT FILED

for the
Northern District of Ilinois JUN 03 2024 UA
Eastern Division = ‘THOMAS G. BRUT uRT
CLERK, U.S. DISTRICT CO
at 1:24-cv-04559
Nina Watts, on behalf of herself individually and all ) Ca: L. Ellis
other similar situated, ‘ Judge Sara “1 Helleb Hotaling
) Magistrate Judge Keri L tan
) RANDOM / Cat 1
Plaintiffs) ) eT —
(Write the full name of each plaintiff who is filing this complaint. “Paale hb.
If the names of all the plaintiffs cannot fit in the space above, ) Jury Trial: (check one) Yes [_]No
please write “see attached” in the space and attach an additional ) :
page with the full list of names.) )
-V=- )
Blackstone Real Estate Income Trust, Inc (BREIT) et
al., and
Pathlight Property Management (Pathlight) et al., )
Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fil in the space above, please )
write “see attached” in the space and attach an additional page )

with the full list of names.)

COMPLAINT FOR A CIVIL CASE

1. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name Nina Watts
Street Address 170 Sparrow LN
City and County Bolingbrook, Will
State and Zip Code lilinois, 60490
Telephone Number 815-980-6061
E-mail Address ninawatts14@att.net

B. The Defendant(s)
Provide the information below for each defendant named in the complaint, whether the defendant is an

individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (known). Attach additional pages if needed.

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Pro Se | (Rev. 12/16) Complaint for a Civil Case

Defendant No. 1
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 2
Name
Job or Title (frown)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if krown)

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if krewn)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Blackstone Real Estate Investor Trust (BREIT) et al.,

Chief Legal Officer

345 Park Avenue

New York, Manhattan County

New York, 10154

(212) 583-5000

Pathlight Property Management (Pathlight) et al.,

Chief Legal Officer

6500 International Parkway, Suite 1100

Plano, Colin County

Texas, 75093

(469) 613-0500

notices@homepartners.com

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Pro Se 1 (Rev. 12/16) Complaint for a Civil Case

II. Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check ail that apply)
[VF ederal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A, If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
are at issue in this case.

1. Dodd-Frank Wall Street Reform and Consumer Protection Act, Subtitle B

2. Racketeer Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1961 et seq

3. Consumer Financial Protection Act (CFPA)

4. Deceptive Acts and Practices (UDAP) statute, 15 U.S.C. § 45,

5. Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692 et seq.

6. Real Estate Settlement Procedures Act (RESPA), 12 U.S.C. § 2601 et seq.
if

FAGA4

the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) Nina Watts , is a citizen of the
State of (name) Illinois

b. If the plaintiff is a corporation
The plaintiff, (name) NIA , 1S incorporated
under the laws of the State of (name) :

and has its principal place of business in the State of (name)

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

a. If the defendant is an individual
The defendant, (name? N/A , is a citizen of
the State of (name) . Or is a citizen of

(foreign nation)

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Ill.

b. If the defendant is a corporation

The defendant, (name) Pathlight Property Management , is incorporated under
, and has its

the laws of the State of (name) Catifornia
ptincipal place of business in the State of (name) Texas

Or is incorporated under the laws of (foreign nation) >

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

The defendants’ unfair and deceptive practices, the plaintiffs were forced to withhold rent to
demand the defendants repair pre-existing property damages. The defendants’ lease
agreements contained adhesive provisions that left the plaintiffs with no recourse to address the
disrepair. This dispute over $79,000+ in rent, fees, and damages is the amount in controversy.
the plaintifis seek compensation over $79,000+ in rent, fees, and damages for the defendants’
breach of the implied warranty of habitability and other unlawful conduct.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.
ThePlaintiff alleges that the Defendants, Blackstone Real Estate Investor Trust, (BREIT) and Pathlight Property
Management, have engaged in a pattern of unfair, deceptive, and abusive practices in their management of rental
properties, in violation of several federal consumer protection laws.
2. The Plaintiff claims that the Defendants have violated the Unfair and Deceptive Acts and Practices (UDAP)
statute, 15 U.S.C. § 45, through their unfair, deceptive, and abusive practices in residential rental property
management, maintenance, lease provisions, and eviction processes.
(cont. on attached complaint pages)

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments, Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Ordering Defendants to immediately stop all legal or eviction processes they have implemented against any and

all residents until a thorough, independent audit is conducted by an outside agency not owned by any of
Defendants’ investors. partners, or subsidiaries

Ordering Defendants to waive all amounts they currently claim or may claim in the future for rent, fees, and

property damage costs against Plaintiffs and class members.
(cont. on attached complaint pages)

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b. If the defendant is a corporation
The defendant, (name) Blackstone Real Estate Investor Trust (E - 18 incorporated under
the laws of the State of (name) Maryland , and has its

principal place of business in the State of (same) New York

Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3, The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

The defendants’ unfair and deceptive practices, the plaintiffs were forced to withhold rent to
demand the defendants repair pre-existing property damages. The defendants’ lease
agreements contained achesive provisions that left the plaintiffs with no recourse to address the
disrepair. This dispute over $79,000+ In rent, fees, and damages is the amount in controversy.
the plaintiffs seek compensation over $79,000+ in rent, fees, and damages for the defendants'
breach of the implied warranty of habitability and other unlawful conduct

WL. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

The Plaintiff alleges the Defendants engaged in unfair, deceptive, and abusive practices, including promising
move-in or inspection passed to low-to-middle class citizens who were then evicted or threatened with eviction,
requiring plaintiffs to pay for pre-existing repairs, and displacing plaintiffs into homelessness. The monetary
impact per plaintiff is at least $75,000 + due to illegal rent, improper fees, and legal costs, entitling plaintiffs to
substantial damages.

(See attached additional pages for each claim in separate paragraphs)

IV. Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Ordering Defendants to immediately stop all legal or eviction processes they have implemented against any and

all residents until a thorough, independent audit is conducted by an outside agency not owned by any of
Defendants’ investors, partners, or subsidiaries

(See attached additional pages for each relief in separate paragraphs)

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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 0 lo Lo 3] LORY
Signature of Plaintiff TF ( i i [Gad -

Printed Name of Plaintiff = A [ 27 ly fi Ly - LS

B. For Attorneys

Date of signing:

Signature of Attorney

Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address
State and Zip Code

Telephone Number
E-mail Address

Pace Saf 5
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United States District Court

for the
Northern District of Illinois

Eastern Division

1:24-cy-04559
Judge Sara L. Ellis

Magistrate Judge Keri L. Holleb Hotali
RANDOM / Cat 1 et

Nina Watts, on behalf of
herself individually and
all other similar situated,

ee

Pro Se Plaintiff

Jury Trial: DEMANDED
V. )

Blackstone RealEstate )
Income Trust, Inc et. al
(BREIT et al) and

Pathlight Property
Management et al.,

Defendant )

CLASS ACTION COMPLAINT

Nina Watts, individually, proceeding Pro Se, on behalf of herself and on behalf of

others similarly situated, for her complaint, states and alleges as follows:
INTRODUCTION

1. At the foundation of landlord-tenant law, the implied warranty of Covenants of

Habitability in Illinois and other states unequivocally places the responsibility
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for ensuring that the homes they rent are in “reasonable repair” and in
compliance with applicable codes, ordinances, and health and safety laws

squarely on the shoulders of the landlord, not the tenants.

2. On the surface of this legal principle is a clear understanding of the landlord-
tenant relationship, recognizing that the landlord, as the property owner, has
the means and resources to mainiain their product(premises) in a safe and
habitable condition for their compensation (tenants rent payments).

3. Beneath the surface of this landlord-tenant framework, however, a troubling
pattern emerges — Securitization Trust Landlords (STLs)' appear to be
exploiting their contractual authority in a manner that burdens vulnerable
tenants. *

4. These Securitization Trust Landlords (STLs) seem to have devised a
questionable strategy, concealing potentially oppressive provisions within their
lengthy, complex rental agreements.

5. Through these obscured contractual terms, defendants are compelling tenants
to shoulder the responsibility for pre-existing property damage, a clear
violation of federal statutes as well as state laws including the Illinois implied
warranty of Covenants of Habitability and constituting a breach of the rental
contract.

6. Furthermore, these defendants appear to be further burdening their tenants by
imposing a variety of dubious fees, regardless of whether the charges are
legitimately disputed.

* https://www.blackstone.com/news/press/b2r-finance-announces-first-multi-borrower-single-family-rental-sfr-
securitization/(Last visited June 2, 2024)

e https://www.wealthmanagement.com/sfr/sfr-investors-dispute-resident-lawsuits-claim-bad-management-
practices (Last visited June 2, 2024)

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7. This systematic practice fundamentally undermines the principles of fairness
and transparency that should define the landlord-tenant relationship. “Tenants,
who are often in a position of relative powerlessness, should be able to rely on
the legal protections afforded by the federal Statues and Illinois implied
warranty of Covenants of Habitability, which are designed to ensure safe and
livable conditions, rather than facing the arbitrary imposition of unjustified
financial obligations, exploitation, and preventing tenants from performing their
rental obligations, or making it more difficult for them pay their month rental

fee. - thereby upholding the fundamental principle of habitable housing.”

PARTIES

8. Plaintiff Nina Watts is an adult individual residing in Bolingbrook, Illinois and is
a citizen of the State of Illinois.

9. Defendant Blackstone Real Estate Investor Trust, Inc (BREIT et al) is a
corporation incorporated in the State of Maryland with its principal place of
business located in New York, New York.°

10. Defendant Pathlight Property Management is a corporation incorporated in
the State of California with its principal place of business located in the State
of Texas.*

11. Upon information and belief, Defendant Blackstone Real Estate Investor
Trust Inc (BREIT et al) or one of its subsidiaries operates and purchases
homes through separately incorporated securitization investor portfolio d/b/a

single-family rental limited liability companies (LLCs) in each state where it

= httos://www.blackstone.com/the-firm/our-
offices/#:~:text=345%20PARK%20AVENUE, NEW%20YORK%2C%20NY %2010154 Last visited June 2, 2024
4 https://www.bing.com/alink/link?url=https%3a%2f%2fpathlightmat.com%2f&source=serp-

local&h=QHxBNfoRrVUbc8TzyWCqGBekbQiJkROQtK%2faoCbFawU%3d&p=lIw_tp&ig=422D58D6CEAE40468B
8CD59C32ACBE87&ypid=Y¥N873x13442873353887955873 Last visited June 2, 2024

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conducts business, including Illinois. °

12. Defendant Pathlight Property Management (the agent, servant, employee,
alter ego, or joint venturer of incorporated securitization investor portfolio d/b/a
landlords) is alleged to be a member of those LLCs. °

13. Defendants Blackstone Real Estate Investor Trust Inc (BREIT et al), and
Pathlight Property Management and these other LLCs, were at all relevant
times the agent, subsidiary, servant, employee, alter ego, and/or joint venturer
of the defendant Blackstone Inc, et al’., Trust, and acted within the course of
such agency, employment, alter ego relationship, and/or furtherance of the
joint venturer, with the permission and consent of each of the other
Defendants.®

JURISDICTION AND VENUE

14. This Court has original subject matter jurisdiction over this controversy
pursuant to the Diversity of Citizenship, Amount in Controversy, and Costs
("DOCAICC") provision of 28 U.S. Code § 1332(d)(2)(A). Under this statute,
corporations are considered citizens of their state of incorporation and their
principal place of business.

15. This Court has original subject matter jurisdiction over this controversy
pursuant to the Diversity of Citizenship, Amount in Controversy, and Costs
("DOCAICC") provision of 28 U.S. Code § 1332(d)(2)(A). Under this statute,

corporations are considered citizens of their state of incorporation and their

5 https://www.blackstone.com/news/press/blackstone-real-estate-income-trust-to-acquire-home-partners-of-
america/ (Last Visited Jun e 2, 2024/01/2024)

6 https://www.bing.com/alink/link?url=https %3a%2f%2fpathlightmat.com%2f&source=serp-
local&h=QHxBNfoRrVUbc8TzyWCqG BekbQiJkROQtK%2faoCbFqwU%3d&p=lw_ tp&ig=422D58D6CEAE40468B
8CD59C32ACBE87&ypid=YN873x13442873353887955873 (Last visited June 2, 2024)

7 https://Awww.blackstone.com/ (last visited June 2, 2024)

® https: //www.blackstone.com/news/press/b2r-finance-announces-first-multi-borrower-single-family-rental-sfr-
securitization/ (Last visited June 2, 2024)

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principal place of business.
16. The aggregate amount in controversy exceeds $75,000 where the class

comprises of the plaintiff and others similarly situated, who were:
a) Promised move-in or inspection passed, but were low to middle
class citizens
b) Evicted or threatened with eviction
c) Paid for pre-existing damage repairs
d) Displaced, resulting in homelessness

17. The monetary impact is at least $75,000, due to illegal rent collection,
improper fees, and legal costs incurred by the affected individuals.

18. The court has original jurisdiction over this class action lawsuit
pursuant to the DOCAICC provision, which considers corporations
citizens based on their state of incorporation and principal place of
business.°

19. The Court has original subject matter jurisdiction over this
controversy pursuant to the Class Action Fairness Act (CAFA), 28
U.S.C. § 1332(d), as the proposed class includes members from
different states, providing the court with original jurisdiction over this
class action. '°

20. The aggregate amount in controversy exceeds $5 million, where the
class comprises at least 100 individuals who were:

a) Promised move-in or inspection passed, but were low to middle

* https://constitution.congress.gov/browse/essay/artll|-S2-C1-18-
VALDE_00013239/#:~:text=The%20current%20diversity%20jurisdiction%20provision%20is%20codified%20at. st
ate%20if%20the%20amount%20in%20controversy %20exceeds%20%2475%2C000. (Last visited June 2, 2024)
1° https://constitution.congress. gov/browse/essay/artilI-S2-C1-18-(Last visited June 2,

2024)1/ALDE_00013239/# ~:text=e The%20current%20diversity%2Ojurisdiction%20provision%20is%20codified%2
Oat, state%20if%20the%20amount%20in%20controversy%20exceeds%20%2475%2C000. (Last visited June 2,

2024)

23.

24.

25.

26.

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class citizens
b) Evicted or threatened with eviction
c) Paid for pre-existing damage repairs
d) Displaced
e) Negative credit reporting

21. The monetary impact per lease agreement is at least $50,000 or
more, due to security deposits collected for disrepair property, due to
illegal rent collection, improper and disputed fees, out of pocket property
repairs, tenants ‘moving expense and legal costs incurred by the
affected individuals.

22. The total damages sought exceed $5 million, highlighting the
substantial impact on the affected class. The court has original
jurisdiction over this class action lawsuit under the Class Action Fairness
Act, as the proposed class includes members from different states.

Defendant Blackstone Real Estate Investor Trust Inc (BREIT et al.,) is

incorporated in the State of Maryland and has its principal place of business in
New York City, New York.

Defendant Pathlight Property Management et al., is incorporated in the

State of California and has its principal place of business in Plato, Texas.

The Plaintiff is a citizen of the State of Illinois, which is different from the

states of the Defendants’ headquarters. Additionally, the aggregate amount in
controversy exceeds the sum value of $75,000, exclusive of interests and
costs, as required by 28 U.S. Code § 1332(c)(1) for diversity jurisdiction
between citizens of a State and citizens or subjects of a foreign state.

This Court has personal jurisdiction over Defendant Blackstone Real Estate

Investor Trust Inc (BREIT et al) because it has conducted substantial business

in this District and intentionally and purposefully markets, promotes, and

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places its homes into the stream of commerce in this District and throughout
the United States.

27. This Court has personal jurisdiction over Defendant Pathlight Property
Management et al., because it has conducted substantial business in this
District and intentionally and purposefully markets, promotes, and places its
homes into the stream of commerce in this District and throughout the United
States.

28. Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a
substantial part of the events or omissions giving rise to the Plaintiff's claims
occurred here.

29. The Defendants, who operate rental properties nationwide, are alleged to
have engaged in a pattern of unfair, deceptive, and abusive practices within
this judicial district.

30. The Defendants are accused of illegally distributing tenant rental funds to
cover unauthorized fees, instead of applying the funds as intended to pay rent.

31. The Defendants are further alleged to have failed to properly disclose and
manage the distribution of rental payments, insurance claims, and other
settiement-related charges, all while improperly receiving profits, kickbacks
and unearned service compensations in connection with the rental of their
properties, including through excessive fees and abusive eviction processes.

32. These alleged unlawful acts, which violated numerous federal consumer
protection statutes, were carried out by the Defendants as they marketed,
advertised, leased, and sold their rental properties within this judicial district.

FACTUAL ALLEGATIONS

|. Defendants’ Rent to Repair Scheme

26. Defendant Blackstone Real Estate Income Trust (BREIT) is externally
managed by a subsidiary of the global investment firm Blackstone (NYSE:

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BX), which has approximately $196 billion in investor capital under
management for its real estate business founded in 1991."

27. Defendants has substantial experience with rental residential properties
and has touted its commitment to "act responsibly to support residents" and
bring "best-in-class operating standards" to the ownership and maintenance of
these homes. '? However, the Plaintiff alleges this claim is belied by the
Defendants’ actual practices.

28. Defendant BREIT primarily invests in stabilized, income-generating U.S.
commercial real estate across key property types, as well as real estate debt
investments.

29. Beginning in 2013, Defendant BREIT (Blackstone LP) started issuing its
first single-family rental (SFR) securitizations, bundling individual rental
properties into portfolios’ used as collateral to issue mortgage-backed
securities sold to investors. 4

30. This SFR securitization model allows large investors like pension funds and
insurance companies to gain exposure to the single-family rental market on a
larger scale without having to manage individual properties directly.

31. Crucially, the "Borrower" in these SFR is group of investors of BREIT
portfolio, not a homeowner. The Borrower's cash flow comes from rental
payments, rather than mortgage payments. This means the income stream is
highly variable, sensitive to factors like vacancy rates, market rents, and

maintenance costs - unlike the more predictable fixed-income from

‘1 https://www.blackstone.com/news/press/resource-reit-to-be-acquired-by-blackstone-real-estate-income-trust-in-
3-7-billion-transaction/(Last visited June 2, 2024)

"2 httos://www.blackstone.com/housing/ (Last visited June 2, 2024)

"3 https://www. breit.com/properties/ (Last visited June 2, 2024)

"4httos://www. atlantafed. orq/blogs/real-estate-research/2014/05/16/are-single-family-rental-securitizations-here-
to-stay (Last visited June 2, 2024)

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mortgages. '°

32. The defendants and their team are accused of being well-versed in real
estate laws, including the implied warranty of habitability, and deliberately
devising a scheme to defraud the legal system and undermine the rights of
low-income and middle-class tenants.

33. The defendants allegedly target vulnerable tenants with poor credit and
limited knowledge of real estate laws, luring them into deceptive contracts that
absolve the defendants of their responsibilities for property repairs and
maintenance.

34. Through deceptive practices, the defendants are accused of stripping away
the legal protections afforded to tenants under the implied warranty of
habitability and other laws, prioritizing profits over tenant welfare.

35. The defendants’ use of commercial lease provisions '°in residential leases
'7is alleged to create an unbalanced and unfair situation that leaves tenants
with no recourse when their homes fall into disrepair.

36. The defendants’ “absolute” lease terms "as-is" clauses, and burden-shifting
maintenance and repair provisions are claimed to actively strip tenants of their
legal rights and force them to bear the costs and responsibilities that should
legally fall on the landlord.

37. The defendants are accused of failing to disclose pre-existing property
defects and inspection results, leaving tenants unaware of the true condition
of the property they are renting.

38. The defendants’ maintenance request system, which allows them to deny

'Shttps://ratings. moodys.com/api/rmc-documents/393138 ( Last visited June 2, 2024)

'6 https://www.jorgensenlaw.com/blog/2021/02/understanding-use-and-exclusive-use-clauses-in-commercial-
leases/ (Last reviewed June 2, 2024)

7 https://www.nolo.com/legal-encyclopedia/free-books/renters-rights-book/chapter2-4.html(Last reviewed June 2,
2024)

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or cancel tenant requests, is alleged to constructively force tenants to make
repairs they are not legally required to make.

39. The defendants are accused of using the repairs and maintenance
requests made by tenants as claims against the tenants' required property
liability insurance, further exploiting the tenants.

40. The defendants are accused of deploying unethical and deceptive tactics
that inflicted financial harm on consumers. They promised a "Move-In ready"
and "Passed Inspections" property, accepted compensation for it, yet
knowingly and intentionally delivered a damaged product that failed to meet
their own standards.

41. The defendants coerced customers to sign leases based on these false
promises, then leveraged one-sided lease terms to hold tenants accountable
for damages, even though the property did not meet local and international
maintenance codes when delivered.

42. Further, the defendants’ actions, such as imposing unlawful fees and using
aggressive eviction tactics, are claimed to cause financial harm to middle- and
lower-class tenants, trapping them in a cycle of hardship. Through these
callous and predatory practices, the defendants are alleged to have exploited
vulnerable consumers for their own financial gain.

43. The defendants’ deliberate scheme to exploit vulnerable tenants by
undermining their legal rights under the implied warranty of habitability and
other consumer protection laws, all while prioritizing profits over tenant
welfare. The defendants’ actions are alleged to have caused significant
financial and legal harm to the tenants.

44. The Plaintiff alleges that under the defendants’ securitization SFR Borrower
model, the burden and costs of maintaining, repairing, and insuring the rental

properties have been systematically shifted away from the Defendants and

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onto the tenant residents through the use of one-sided, adhesive form
contracts. This alleged practice undermines the Defendants’ claims of
responsible ownership and support for residents.

I|. Defendants Target Vulnerable Demographics and Limit Housing Choices

45. The Defendants either own, operate, and manage single-family residential
homes, soliciting to individuals in three primary demographics: (1) low to
middle-class income, (2) persons desiring to live in a single-family home but
lacking the creditworthiness to obtain a mortgage, and (3) persons who want
to rent a single-family home but are "uncertain" about home ownership. '®

46. Over time, the Defendants have displaced individual home buyers (or
individual landlords and property owners) not only in housing markets
decimated by foreclosure, but also in healthy urban, suburban, and exurban
residential real estate markets. '9

47. Instead of owner-occupied homes, these institutional investors are
converting properties into rental units, contributing to rising home and rents
prices in many areas and making it more difficult for individual buyers,
particularly first-time and lower-income buyers, to purchase homes.

48. The Defendants target these demographics through marketing to real
estate agents and through online and print advertisements promoting the
availability of homes.

49. The Defendants market themselves as a joint entity, with the BREIT
website containing the Home Partners of America logo, and the Pathlight
website also displaying the Home Partners of America logo, demonstrating

their interlocking relationship2°.

'8 https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4269561 (June 2, 2024)

'? https://www. blackstone.com/wp-content/uploads/sites/2/2022/01/Bloomberg_ Blackstone-to-Spend-1-Billion-
Offering-Tenancts-Reduced-Rents 01142022. pdf (June 2, 2024)

20 https://www.blackstone.com/housing/home-partners-of-america/ (June 2, 2024)

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50. Defendant Pathlight Property Management is the exclusive property
manager of the single-family rental (SFR) portfolio properties for Defendant
BREIT's securitization investors, who are referred to as "SFR Borrowers."

51. The Defendants claim in their form documentation that they are purchasing
properties specifically selected by prospective tenants prior to rental, but the
Plaintiff alleges the Defendants (either wholly or through their alter ego LLCs)
likely already own the homes. A recent search revealed the Defendants have
available rental homes in over 80 combined markets across the United States.

52. Customers initiate the process by responding to a solicitation
advertisement from the Defendants or their alter ego LLCs, which were at all
relevant times the agent, subsidiary, servant, employee, or joint venturer of
the Defendants.

53. After the customer completes a lease to own or rental application along
with a credit report and work history, the Defendants, or their alter ego LLCs,
refer the potential tenants to one of their many. authorized real estate agents
who unilaterally determine the types of houses, locations, and specific
properties the tenants are allowed to consider, severely limiting the housing
options available to the tenants.

54. Once approved, the defendants request the customer to wire the non-
negotiated amount to and listed account and then email them the proof of paid
transactions number. Once verified, the defendants or their alter ego LLCs
agent, employee or joint venturer sends their standard lease for the tenant to
review and sign.

55. The defendants are accused of deliberately targeting middle-class and
lower-class consumers, exploiting their relative lack of financial and
educational resources. The defendants allegedly recognized these individuals

would be less likely to articulate or contest the defendants’ unfair lease terms,

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given the defendants’ team of real estate legal professionals.

56. Recognizing this vulnerable group as easier targets, the defendants are
claimed to have knowingly and intentionally taken advantage of customers
who were not intellectually equipped to challenge the defendants’ practices.
Through these predatory actions, the defendants are alleged to have
prioritized profits for themselves and their investors over the wellbeing of the
very consumers they were entrusted to serve.

lil. Defendants Impose Onerous Terms and Conditions on Tenants

57. After receiving the potential tenants' rental funds, the property is then
assigned to one of BREIT's institutional investors, referred to as "SFR
Borrowers."

58. Potential tenants, including the Plaintiff, are assigned to one of the
Defendants’ exclusive property management teams, responsible for all rental-
related matters, account funds management, and maintenance and repair
management for the duration of the rental agreement term.

59. The Defendants provide potential tenants, including the Plaintiff, with
lengthy leases via email from Defendant Pathlight Property Management, on
their alter ego/Home Partners of America letterhead, listing the Defendants as
the landlord and property manager responsible for all residential rental
property management, including maintenance, repairs, tenant account
ledgers, and property claims submissions.

60. The Defendants lead potential tenants, including the Plaintiff, to believe the
homes they are renting or leasing to own would undergo a purchase
inspection and a city inspection prior to the tenants' move-in to ensure the
property meets all rental standards and any damage is repaired. However, the
Defendants do not share the results of these inspections with the tenants.

61. Despite these representations, the Defendants require tenants to enter

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unconscionable contracts that purport to waive and modify the warranty of
habitability through various commercial rental lease provisions, without

providing a complete list of the tenant's maintenance and repair obligations.

e The Tenant agrees that (a) it is leasing the Premises in its “AS-
IS, Where-is, With All Faults” conditions as of the Effective Date
and specifically and expressly without any warranties,
representations or guarantees, either express or implied, as to its
condition, fitness for any particular purpose, merchantability or
any other warranty of any kind, nature, or type whatsoever from
or on behalf of the Landlord, and (b) except as may be required
by Applicable Laws, Landlord has no obligation to perform any
work, supply any materials, incur any expense or ,make any
alterations or improvement to any portion of the Premises’,

e “Tenants shall, at Tenants’ expense, maintain the Premises
(including all appliances, systems and fixtures located thereon)

e “Tenant agrees to pay (a) all repairs, maintenance or
replacement required to the Premises, including the wall,
windows, storm(sic) doors/windows and screens, ceilings, paint,
plastering, whatever damages or injury to the same shall have
resulted from misuse, waste or neglect by the tenant”

e Tenants acknowledges that any damages to the Premises
beyond normal wear and tear which is not so noted on the
Condition form returned by the Tenant will be presumed to have
been caused by Tenant

62. The Defendants also fail to fully disclose the additional fees tenants will be
required to pay under the lease, including the cost of insuring the Defendants'

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property, HVAC upkeep charges, and other lease administration expenses.

63. The Defendants set the monthly base rent for each house and admit they
do not negotiate these amounts with tenants, despite representing that the
rent was agreed upon with the understanding that the tenant would be
responsible for the property's maintenance needs.

64. The Defendants states in their lease that the “Tenants confirms that

65. At the core of the issue, the Defendants' marketing is designed to induce
and convince lower- and middle-income customers with poor credit that they
are renting a specially chosen, "qualified" home that is different from a
traditional rental. However, the Defendants then force these consumers to
agree to take on substantial homecare burdens through their unconscionable
and adhesive leases containing hidden commercial property provisions.

66. Despite the Defendants’ efforts to establish an extra-legal relationship with
their tenants through these elaborate, lengthy contracts, they cannot write
their way out of their statutory legal obligations under the laws of the United
States.

67. Furthermore, the Defendants’ displacement of lower and middle-class
renters and homebuyers suggests their practices have undermined the
socioeconomic mobility of marginalized groups.

IV. Defendants’ Fee Stacking for Profit scheme

68. The defendants require tenants to obtain renters insurance that names the
defendants and POPIC LLC as additional interested parties. Tenants are
forced to participate in the defendants’ "Master Resident Liability Program"
(MRLP) if they do not provide proof of their own qualifying insurance.

69. The MRLP costs tenants $13 per month, which is considered "additional

rent” paid to the defendant landiord. This MRLP fee is an insurance premium

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paid to the defendants' captive insurer, POPIC LLC, but the defendants do not
disclose how the funds are used.

70. The defendants employ a third-party utility management company,
Conservice, to bill tenants for utilities. The defendants also charge tenants a
"Utility Billing Service Fee" (UBSF) to cover the administrative costs of this
arrangement, but this fee is not properly disclosed.

71. The defendants require tenants to participate in an HVAC filter replacement
program, charging $15 per month, which includes a markup that is not
disclosed to tenants.

72. The defendants charge tenants "no-show" fees of $75 per incident if
maintenance technicians are unable to access the property, even if the tenant
was present or did not schedule the appointment.

73. The defendants require tenants to pay for the landlord's attorneys to review
their accounts to determine if the tenant is in default, even if no legal action is
taken.

74. These various fees and provisions in the defendants' leases are alleged to
be deceptive, unconscionable, and in violation of consumer protection and
landlord-tenant laws, as they shift costs and responsibilities onto the tenants
that should be borne by the landlord.

75. The Plaintiff is accusing the defendants of devising a multi-faceted scheme
to exploit vulnerable tenants through a range of unfair, deceptive, and unlawful
practices related to insurance, utilities, fee stacking, maintenance, eviction,

and legal fees.

V.
Plaintiffs’ Experiences
Nina Watts

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76. Nina Watts, the plaintiff, selected a 3-bedroom, 3-bathroom home in Joliet,
Illinois from the defendants’ rental program, believing it would be a high-
quality, move-in ready home based on the defendanis' representations. She
paid the required move-in fees of $5,992.50.

77. However, just days before the lease start date of June 28, 2022, the
defendants informed Watts that the Joliet property was no longer available
and asked her to select a different property. After a frustrating search, Watts
was offered a 4-bedroom, 2-bathroom home in Bolingbrook, Illinois for $3,095
per month. The defendants, through their agent Margaret L., assured Watts
that the Bolingbrook property would be ready for her occupancy by July 24,
2022.

78. When Watts arrived at the Bolingbrook property on July 24, 2022, she
discovered significant pre-existing issues, including missing walls, ceilings,
floors, and a bug infestation. The property was not in the move-in ready
condition the defendants had promised. Watts immediately reported the issues
to the defendants and provided photo documentation, but the defendants were
slow to respond and when they did respond to the plaintiff the defendants
quoted the lease provisions and failed to make the repairs.

79. Over the following months, the defendants continued to add various fees
and charges to Watts' account, including:

a) A"Recover" Program fee, a recurring utility recovery fee paid to the
defendants’ exclusive utility service provider, Conservice.

b) A"Utility Billing Service Fee" (UBSF) to cover the administrative costs of
hiring a third-party utility management company.

c) Amandatory $15 per month "HVAC Filter Program” that included an
undisclosed markup.

d) "No-Show" fees of $75 per incident if maintenance technicians were

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unable to access the property, even if Watts was present or did not
schedule the appointment.
e) Legal fees for the defendants’ attorneys to review Watts’ ledger, on
multiple occasions regardless of whether any legal action was taken.
f) Charges from the defendants’ utility server, for under “Conservice’”
various types of recover fees.

80. The defendants failed to properly disclose the nature, purpose, and details
of these various fees and charges added to Watts' account during her tenancy.

81. Watts attempted to dispute the excessive fees and charges, but the
defendants obstructed her efforts by creating a complex web of shell
companies and subsidiaries. The defendants’ agents informed Watts that she
must contact various departments and entities, such as Conservice, POPIC,
and the defendants’ legal team, to address the issues, making it nearly
impossible for Watts to effectively challenge the fees.

82. Furthermore, the defendants deliberately diverted Watts' rental payments to
cover these unauthorized fees and charges, rather than applying the funds
towards her rent as intended. The defendants then threatened Watts with
eviction for nonpayment of rent, despite her attempts to resolve the issues.

83. The defendants' actions demonstrate a pattern of practices designed to
exploit vulnerable tenants. They combined provisions from both residential
and commercial leases into their standard form to coerce and force Watts to
comply with their demands or face eviction, despite the defendants’ own
failures to maintain the property and their deceptive practices.

84. The defendants' deliberate scheme to mislead Watts with false verbal
promises, coupled with their abuse of the legal system to threaten and initiate
eviction proceedings, further illustrates their predatory behavior. Watts

believes the defendants’ conduct was part of a systemic and organized effort

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to defraud and deceive tenants, causing significant distress, customer
character ruin, homeless and financial hardship for her and her family.

Vi. Numerous Tenants Nationwide Complain.

85. Nina Watts, the plaintiff, is not alone in her experience with the defendants,
Pathlight Property Management. Across the country, numerous tenants have
lodged complaints against Pathlight through social media, the Better Business
Bureau, and housing court litigation, regarding issues such as failure to return
security deposits, provide move-in ready properties, mismanage tenant
accounts, improperly stack fees, and fail to maintain their properties in

reasonable repair.

86. Pathlight was initially accredited by the Better Business Bureau in
December 2016, but its accreditation was revoked in 2022, though it has since
been reinstated. The Better Business Bureau's customer review page,
however, continues to be flooded with a litany of complaints - 752 complaints

closed in the last 3 years and 222 complaints closed in the last 12 months.

87. For example, the Better Business Bureau contains the following litany of

recent complaints:?"
April 7, 2024

! moved in on 4/1/2024. | have contacted Pathlight numerous
times and they make excuses of why they cant fix anything. 1) |
have a sliding glass door that will not lock which is a security
issues. They will not even send someone fo fix it tell 4/12/2024 so
J am supposed to sleep with door that does not lock. 2) when |
looked at this house they told me everything was working, but
upon moving in the water softener does not work. | called them to

= https://www.bbb.org/us/tx/plano/profile/property-management/pathlight-property-management-0875-
90620230/complaints (Last viewed on June 2, 2024)

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let them know and they are trying to say | have to fix it. | moved in
because that was one of the perks. They completely did bat and
switch.3) The washer had not worked since | moved in. I am
unable to do laundry. No response.4) | have also noticed shingles
that are missing and when | bring things to their attention they
want me to fix it. | rent from them, and this is unacceptable.

April 08, 2024

In November Pathlight contacted me stating that there was a fee of $1200
being charged due to *** violations that occurred in July. | was never
contacted in July about these issues that were written up by ***, these
were sent directly to Pathlight. The notice states that once charge is
applied to property it will not be reversed. The *** department at Pathlight
reached out to us after it was already applied to our account, and
requested pictures of the issues. We sent pictures showing all items were
fixed unbeknownst to us that it was even an issue. *** had did their check
in July and received no response from Pathlight. if Pathlight would have
contacted me at that time we could have resolved this immediately. In
July 2023, we hired a landscape company due to my husband's working
more hours. During this transition that is when *** did their inspection and
found violations, which was fixed a week later from what Pathlight said
the original complaint was. Pathlight has been unwilling to work with this
fee, and have charged late fees on top of the 1200 fee.

Rabab April 17, 2024 “The practices employed by Pathlight in relation to
rent-to-own agreements present significant legal concerns, particularly for
disabled individuals, given their persistent imposition of indefinite,
unethical fees. Following an eviction notice, Pathlight demanded payment
of $16k, a demand further exacerbated by their actions and the
representation provided by their legal affiliates at Atlas Law, whose
amateur status adds to the complexity of the situation and the way we
were handled. Upon being directed to the courthouse, we provided

evidence of forthcoming payment to Path life to halt the eviction

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proceedings. Prior to remitting any funds, we diligently sought clarification
from Atlas Law regarding additional fees preceding the eviction payment,
to which they confirmed that no additional charges would be incurred,
instructing us to direct the funds to Pathlight Despite fulfilling the $16k
obligation, we sent Pathlight a cashier’s check exceeding this amount by
an additional $18k, intending the surplus to cover the subsequent months’
rent. However, we now find ourselves embroiled in a dispute over
additional legal fees debited from our account two months subsequent to
the initial resolution of the eviction matter. These actions, characterized
by their unethical and unprofessional nature, flagrantly violate legal
protections afforded to disabled renters, including those enshrined in the
Fair Housing Act, which unequivocally prohibits discrimination based on
disability, gender, or race. Pathlight’s blatant disregard for such legal
safeguards, coupled with their prioritization of extracting unethical fees at
the expense of resident's rights, renders them an unsuitable option for
those considering rent-to-own solutions. | am fully committed to diligently
assembling and submitting all pertinent documents in support of our
claim. Despite settling all fees related to an illegal eviction and adhering
to the city's eviction notice requirements, Pathlight is now imposing
additional charges on residents. Following discussions with Pathlight and
their hired lawyer, | was instructed to pay $16k, yet | ended up paying
$18k. Surprisingly, two months later, | was hit with a legal fee.

April 30, 2024
Biggest Scammers in history!! DO NOT APPLY OR USE THIS COMPANY

months subsequent to the initial resolution of the eviction matter. These
actions, characterized by their unethical and unprofessional nature,
flagrantly violate legal protections afforded to disabled renters, including
those enshrined in the Fair Housing Act, which unequivocally prohibits
discrimination based on Gisability, gender, or race. Pathlight’s blatant
disregard for such legal safeguards, coupled with their prioritization of
extracting unethical fees at the expense of resident's rights, renders them
an unsuitable option for those considering rent-to-own solutions. | am fully
committed to diligently assembling and submitting all pertinent documents

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in support of our claim. Despite settling all fees related fo an illegal
eviction and adhering to the city’s eviction notice requirements, Pathlight
is now imposing additional charges on residents. Following discussions
with Pathlight and their hired lawyer, | was instructed to pay $16k, yet |
ended up paying $318k. Surprisingly, two months later, | was hit with a
legal fee.

88. Additionally, a private Facebook group called "Pathlight Property
Management Problems" contains over 1,000 members, further demonstrating
the widespread issues tenants have experienced with the defendants.
Pathlight has also been subject to numerous suits in housing or small claims
courts nationwide, as well as additional actions commenced by the
undersigned counsel on behalf of their clients in Illinois, Minnesota,

Washington, and Colorado.”

89. As reported by numerous tenants, the defendants often ignore repair
requests or wait an inordinate amount of time before addressing them, directly
contradicting their representations that they will quickly make repairs and be
available 24/7. These failures to repair or agree to repair demonstrate that the

defendants’ representations misrepresent the level of service they provide.

90. Watts' experience, as outlined in the previous sections, is not an isolated
incident, but rather part of a broader pattern of the defendants' exploitative

and abusive practices towards vulnerable tenants across.
CLASS ACTION ALLEGATIONS

91. The Plaintiff brings this action on behalf of herself, and all others similarly

situated ("the Class") pursuant to Federal Rule of Civil Procedure 23(b)(2) and

22 https://www.facebook.com/groups/555948639354337/people/

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(b)(3). The Plaintiffs experiences, as detailed in the preceding sections, are
representative of the broader pattern of the defendants’ exploitative and

abusive practices towards vulnerable tenants across the country.

92. The proposed Class is defined as: All persons who have paid rent and
other fees to the defendants, Pathlight Property Management and Blackstone
Real Estate Investment Trust (BREIT), pursuant to a rental lease agreement in

the state of lilinois.
93. The requirements for class certification under Rule 23 are met as follows:

a) Numerosity: The members of the Class are so numerous that joinder
of all members in one proceeding would be impracticable, as the
Plaintiff is informed and believes there are hundreds of persons who

have entered into rental agreements with the defendants.

b) Commonality: There are common questions of law and fact common

to the Class, including:

i. Whether the defendants have illegally incorporated commercial
real estate provisions into their residential leases, creating
unconscionable adhesion contracts that mislead tenants and
violate state laws.

ii. Whether the defendants have failed to provide habitable homes in

full compliance with the law.

iii. Whether the defendants have deliberately targeted lower-income
and middle-class communities with these deceptive and unfair

lease practices.

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iv. Whether the defendants have engaged in predatory or exploitative
practices that specifically target vulnerable lower-income and

middle-class tenants.

v. Whether the defendants have used the threat of eviction or the
eviction process as a means to coerce tenants into accepting the

unconscionable lease provisions or paying the illegal fees.

vi. Whether the defendants have abused the legal system by filing
frivolous or retaliatory lawsuits against tenants who have

attempted to assert their rights or challenge the lease terms.

vii. Whether the defendants have attempted to shift the responsibility
for repairing pre-existing damages to the tenants, in violation of
the implied warranty of habitability.

viii. | Whether the tenants have incurred any out-of-pocket expenses or
suffered any other damages as a result of the defendants’ failure

to repair pre-existing damages in a timely manner.

c. Typicality: The claims of the Plaintiff are typical of the claims of the
members of the Class, who have entered into rental agreements with the
defendants and are now contractually bound to the misleading and unlawful

terms of those agreements.

d. Adequacy: The Plaintiff will fairly and adequately represent the members
of the Class and proceed Pro se with this suit without competent and

experienced counsel in class action and complex litigation.

The requirements of Rule 23(b)(2) are met, as the Plaintiff seeks injunctive

and declaratory relief to address the defendants' unlawful conduct.

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95. The requirements of Rule 23(b)(3) are also met, as the common questions
of law and fact predominate over any individual issues, and a class action is
superior to other methods for the fair and efficient adjudication of this

controversy.

96. The Plaintiff's claims arise under various federal and state laws, including
the Unfair Deceptive Acts and Practices (UDAP) statute, the Fair Housing Act,
the Fair Debt Collection Practices Act (FDCPA), the Racketeer Influenced and
Corrupt Organizations Act (RICO), and the Real Estate Settlement Procedures
Act (RESPA).

97. The defendants’ conduct, as exemplified by the Watts case and the
numerous complaints from other tenants, reflects a systemic and organized
effort to defraud and deceive tenants through deceptive and abusive
practices, causing significant distress and financial hardship for countless

individuals and families.
Count I:

Violations of the Unfair Deceptive Acts and Practices (UDAP) Statute15
U.S.C. § 45

98. Plaintiff re-alleges all prior paragraphs of this complaint.

99. Unfair Deceptive Acts and Practices (UDAP) statute, 15 U.S.C. § 45.
States “it is unlawful for any provider of consumer financial products or
services or a service provider to engage in any unfair, deceptive, or abusive
act or practice”

100. The defendants’ conduct, as exemplified by the experiences of Nina Watts
and the numerous complaints from other tenants, constitutes multiple
violations of the Unfair Deceptive Acts and Practices (UDAP) statute, 15

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U.S.C. § 45. The defendants have engaged in unfair, deceptive, and abusive

practices in their rental property management, property maintenance, property

conditions, lease provisions, and eviction processes, which have caused

significant harm and distress to the plaintiff and other class members.

101. Specifically, the defendants have:

oe

IV.

Misrepresented the condition and habitability of their rental properties,
leading tenants to believe the homes would be move-in ready when they
were not.

Imposed a web of undisclosed, excessive, and unauthorized fees,
including "Recover" program fees, utility billing service fees, HVAC filter
program fees, and "no-show" fees, which were not properly disclosed to
tenants.

Diverted tenants’ rental payments to cover these illegal fees and
charges, rather than applying the funds towards rent as intended, and
then threatened tenants with eviction for nonpayment of rent.

Failed to make timely and adequate repairs to their properties, despite
tenants’ repeated requests and the defendants’ own acknowledgment of
the pre-existing issues.

Obstructed tenants' efforts to dispute the excessive fees and charges by
creating a complex corporate structure and requiring tenants to contact

various subsidiaries and departments.

102. The defendants’ unfair, deceptive, and abusive practices have caused

significant financial harm and distress to the plaintiff and other class members,
violating the UDAP statute.

Count I:
Violations of the Fair Housing Act 42 U.S.C. § 3601 et seq

103. Plaintiff re-alleges all prior paragraphs of this complaint.

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104. Fair Housing Act, 42 U.S.C. § 3601 et seq., states “it unlawful for any
lender to discriminate in its housing-related lending activities against any
person because of race, color, religion, national origin, sex, handicap, or
familial status.”

105. The defendants’ negligent, fraudulent, unfair, and deceptive practices
regarding their rental property management, property maintenance,
property conditions, lease provisions, and eviction processes have had a
discriminatory impact on the plaintiff, Ms. Watts, and other individuals
who are members of a protected class under the Fair Housing Act, 42
U.S.C. § 3601 et seq.

106. The defendants’ exploitative and predatory conduct, which has
disproportionately targeted lower-income and middle-class communities,
has denied these vulnerable tenants’ equal access to fair and decent
housing, in violation of the Fair Housing Act.

Count Ill:
Violations of the Fair Debt Collection Practices Act (FDCPA) 15 U.S.C. §
1692 et seq

107. Plaintiff re-alleges all prior paragraphs of this complaint.

108. Fair Debt Collection Practices Act (FDCPA), 15 U.S.C. § 1692 et
seq., a “debt collector’ is defined as: * Any person7 who uses any
instrumentality of interstate commerce or mail in any business whose
principal purpose is debt collection. * Any person who regularly collects,
or attempts to collect, debts owed to another person.

109. The defendants' debt collection practices, including their
mismanagement of tenants’ account ledgers and illegal distribution of
rental funds, have violated the provisions of the Fair Debt Collection
Practices Act (FDCPA), 15 U.S.C. § 1692 et seq.

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110. Specifically, the defendants have unlawfully used tenants’ rental
payments to cover the various unauthorized fees and charges, rather
than applying the funds as intended to pay rent. This pattern of unfair
debt collection practices has caused significant financial harm to the
plaintiff and other class members, in violation of the FDCPA.

Count IV:
Violations of the Racketeer Influenced and Corrupt Organizations Act
(RICO) 18 U.S.C. § 1961 et seq.

111. Plaintiff re-alleges all prior paragraphs of this complaint.

112. Racketeer Influenced and Corrupt Organizations Act (RICO), 18
U.S.C. § 1961 et seq., states racketeering activity means “any act or
threat involving murder, kidnapping, gambling, arson, robbery, bribery,
extortion, dealing in obscene maiter, or dealing in a controlled substance
or listed chemical.”

113. The defendants' fraudulent, deceptive, predatory, and extortionate
practices to extract illegal profits from tenants’ rental funds on a monthly
basis, as well as their abuse of the legal process, constitute a pattern of
racketeering activity in violation of the Racketeer Influenced and Corrupt
Organizations Act (RICO), 18 U.S.C. § 1961 et seq.

114. The defendants’ systematic exploitation of vulnerable tenants through
their complex web of subsidiaries, undisclosed fees, and misuse of the
eviction process reflects a broader, organized scheme to defraud and
deceive class members, in violation of RICO.

Count V:
Violations of the Real Estate Settlement Procedures Act (RESPA) 12 U.S.C.
§ 2601 and 2607 et seq

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115. Plaintiff re-alleges all prior paragraphs of this complaint.

116. Real Estate Settlement Procedures Act (RESPA), 12 U.S.C. § 2601
et seq., states “No person shall give, and no person shall accept any
fee, kickback, or thing of value pursuant to any agreement or
understanding, oral or otherwise, that business incident to or a part of a
real estate settlement service involving a federally related mortgage loan
shall be referred to any person’.

117. The defendants have failed to properly disclose and manage the
distribution of rental funds, insurance claims, and other settlement-
related charges, in violation of the Real Estate Settlement Procedures
Act (RESPA), 12 U.S.C. § 2601 et seq.

118. Additionally, the defendants have received kickbacks (Investment
Profits) or unearned profit from fees in connection with the rental of their
properties, including through their insurance claims, excessive fees, and
eviction processes, in further violation of RESPA, 12 U.S.C. § 2607.

119. The defendants’ conduct, as exemplified by the Watts case and the
numerous complaints from other tenants, reflects a systemic and
organized effort to defraud and deceive tenants through deceptive and
abusive practices, causing significant distress and financial hardship for
countless individuals and families.

COUNT VI

RESCISSION

120. Plaintiffs re-allege all prior paragraphs of this Complaint.

121. Defendants control virtually every aspect of Plaintiffs' lease
agreements, as set forth in the general allegations in paragraphs 26-75
and 91-119.

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122. Defendants’ lease agreements are illegally and unfairly advantageous
to Defendants through their misleading statements and deceptive
practices.

123. These practices include:

a) Unlawful lease provisions that deceive and mislead
consumers into believing they cannot negotiate their
monthly rental rates, when in fact they are forced to sign
agreements stating they did negotiate.

b) Provisions that require tenants to make repairs to their
rental homes because they are rented in an "AS-IS"
condition or because Defendants claim the repair is
"resident responsibility," in violation of the warranty of
habitability.

c) Mandatory requirements for tenants to pay for renters’
insurance or use Defendants’ "liability coverage" every
month to cover the maintenance and physical damage to
Defendants' rental homes, which is Defendants’ legal
responsibility under the warranty of habitability.

d) Misleading statements and deceptive practices related to
mandatory fees, where Defendants require tenants to pay
certain fees or face eviction and potential homelessness,
directly targeting middle- and lower-class citizens.

e) Inclusion of both residential and commercial provisions
within the same lease agreement, further obfuscating and
deceiving consumers about their rights and obligations

under the lease and failing to properly disclose.

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124. These practices by Defendants are designed to illegally and unfairly
advantage Defendants at the expense of vulnerable tenants, in clear
violation of consumer protection laws and the implied warranty of
habitability.

125. Defendants' form lease agreements are unconscionable contracts of
adhesion, which are unenforceable contrary to public interest, policy,
and law. These agreements deny consumers the legally cognizable
warranty of habitability.

126. Asa direct result of Defendants’ unlawful lease terms, Plaintiffs and
class members have incurred out-of-pocket expenses for maintenance
costs that should have been Defendants' responsibility. Defendants have
received substantial benefits to which they have no entitlement, at
Plaintiffs' and class members’ expense, including maintenance costs,
rent hikes, insurance premiums, and other expenses.

127. Plaintiffs and the class are entitled to compensation for all the
expenses they were illegally required by Defendants to bear, and that
Defendants should have but did not pay.

COUNT V: UNJUST ENRICHMENT

128. Plaintiffs and the class conferred a benefit on Defendants by paying
rent and the costs of maintenance that Defendants should have paid.

129. Defendants voluntarily accepted and retained these benefits, and the
circumstances are such that it would be inequitable for Defendants to
retain these payments.

130. Defendants consciously accepted the benefits that Plaintiffs and the
class conferred, and these benefits were not conferred gratuitously.
Plaintiffs and the class conferred these unjust benefits upon Defendants

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after and as a result of Defendants’ illegal misconduct as described in
paragraphs 26 -75 and 91-119.
COUNT VI: DECLARATORY RELIEF

131. An actual controversy has arisen between Plaintiffs and the class on
one hand, and Defendants on the other, relating to the following matters:

a) Whether Defendants have unlawfully imposed maintenance, repair, and
payment burdens and obligations on Plaintiffs under form contracts of
adhesion.

b) Whether Defendants have unlawfully failed to maintain the homes
rented by Plaintiffs and the class.

c) What amounts Plaintiffs and the class are entitled to receive in
compensation.

d) Whether Defendants unlawfully require tenants to procure renters’
insurance to cover damage not caused by tenants to Defendants’
buildings and structures, or to force-place them in Defendants' "liability
coverage.”

e) Whether the provisions of Defendants’ form leases violate the warranty
of habitability and illegally thrust the burden of repair onto the tenants.

f) Whether tenants can be forced to sign agreements stating they either
negotiated the rental or purchase price of the home when, in fact, no
negotiations took place.

g) Whether Defendants have mishandled tenant funds and account ledgers
by adding unauthorized fees, compiling mounting hardship, and then
using those tenant funds to pay Defendants’ own fees instead of
applying the funds to rent, in violation of the Dodd-Frank Wall Street
Reform and Consumer Protection Act, Subtitle B.

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132. Plaintiffs and the class further seek declaratory judgment that
Defendants have violated the Dodd-Frank Wall Street Reform and
Consumer Protection Act, Subtitle B, through their actions detailed in the
preceding paragraphs.

133. Plaintiffs and the class seek a declaratory judgment that Defendants'
practices are unlawful, and that Plaintiffs and the class are entitled to
recover the sums owed by Defendants.

COUNT Vil: INJUNCTIVE RELIEF

134. Defendants will continue their illegal practices, including forcing
tenants to enter into and enforcing illegal contracts of adhesion, forcing
them to live in homes unsuitable for habitation, fraud, misrepresentation
of contractual lease terms, and deceptive practices and fraud to evict
Plaintiffs and the proposed class under "failure to pay rent” provisions.

135. Plaintiffs and the proposed class have been irreparably injured and
damaged, and are threatened with further injury and damage, by
Defendants’ tortious interference, unlawful refusal to maintain the homes
the, and Defendants continued use of misleading, unconscionable lease
agreements and deceptive practices.

136. Plaintiffs and the proposed class have no adequate remedy against
Defendants’ malpractice in maintaining the "high-quality" homes fit for
human habitation, resulting in financial, emotional, and mental harm.

137. Defendants have acted, and threatened to act, on grounds generally
applicable to the individual members of the proposed class, thereby
making appropriate preliminary and permanent injunctive relief
necessary to enjoin Defendants and their agents from continuing the
unlawful practices.

138. Defendants should be ordered to:

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a) Disgorge all fees in excess of those permissible under the law
that they have obtained from Plaintiffs and the class as a result
of collecting and distributing these illegal fees to provide the
defendants a profit at the Plaintiffs and the class costs.

b) Disgorge all legally required eviction procedures and allow
Plaintiffs and the class 90 days to vacate the property, waiving
all past, present, and future financial obligations related to
Defendants and their agents.

c) Disgorge all reporting of any negative items, amounts, or data
to Plaintiffs' and the class' credit reports or public records.

d) Defendants should be ordered to provide full restitution to
Plaintiffs and the class for all maintenance costs, missed work
hours, fees charged, rents paid, security deposits paid, rent
increases, insurance premiums, and other expenses they were
unlawfully required to pay due to Defendants’ illegal conduct.

e) Defendants should be ordered to reimburse Plaintiffs and the
class for any moving expenses or security deposits they
incurred as a result of Defendants’ unlawful actions.

PRAYER FOR RELIEF
136. Plaintiffs respectfully ask the court to award judgment against
Defendants as follows:

a) that Defendants' actions constitute multiple, separate violations
of the common law warranty of habitability and that Defendants'
form lease agreements are void.

b) Enjoining Defendants and their employees, officers, directors,
agents, successors, assignees, affiliates, merged or acquired

predecessors, parents or controlling entities, subsidiaries, and all

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other persons acting in concert or participation with them, from
engaging in deceptive practices, making false or misleading
statements, and breaching the common law warranty of
habitability.

c) Ordering Defendants to immediately stop all legal or eviction

processes they have implemented against any and all residents
until a thorough, independent audit is conducted by an outside
agency not owned by any of Defendants’ investors, partners, or

subsidiaries.

d) Ordering Defendants to waive all amounts they currently claim or

may claim in the future for rent, fees, and property damage costs

against Plaintiffs and class members.

e) Ordering Defendants to refrain from attaching any type of

f)

negative reporting regarding fees owed, property damage costs,
unpaid rent, or any other claims against Plaintiffs and class
members on their credit reports or in public records.

Awarding judgment against Defendants for moving expenses,
security deposits, and first months’ rent, as provided by

applicable law or equity.

g) Awarding judgment against Defendants for restitution and

disgorgement under the general.

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